                         IN THE UNITED STATES DISTRICT
                            COURT FOR THE DISTRICT OF NEW
                            MEXICO



UNITED STATES OF AMERICA,                          )
                                                   )
                Plaintiff,                         )     CRIMINAL NO.20-CR-1210 JAP
                                                   )
       vs.
                                                   )
CHARLES BRENT JUSTICE,                             )
                                                   )
                Defendant.                         )
                                                   )
                        UNITED STATES’ RESPONSE TO DEFENDANT’S
                             MOTION APPEALING DETENTION ORDER

       The United States respectfully submits this response to Defendant’s Motion Appealing

Magistrate’s Detention Order. As the facts discussed below will indicate, Defendant is both a

flight risk and a danger to the community, and should be detained pending trial, as was found

twice by United States Magistrate Judge Kirtan Khalsa. As a result, Defendant’s appeal should

be denied.

       I.      PROCEDURAL HISTORY

        Defendant was charged by complaint on March 16, 2020 with 26 U.S.C. § 5861(d):

Possession of An Unregistered NFA Weapon, and 18 U.S.C. 922(l): Unlawful Importation of a

Firearm. On March 19, 202, the parties argued the issue of detention before Judge Khalsa. At

the close of the nearly 6 hour hearing, Judge Khalsa ordered Defendant detained, based on

concern for the safety of the community, finding that the weight of the evidence was strong.

On April 16, 2020, Defendant filed a Motion for Reconsideration regarding release. On April

29, Judge Khalsa denied said motion. On May 3, 202, Defendant filed the instant motion and

on May 13, a federal grand jury returned an indictment charging Defendant with violations of

26 U.S.C. § 5861(d): Possession of An Unregistered NFA Weapon, 18 U.S.C. 922(l): Unlawful
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  Importation of a Firearm, and 18 U.S.C. § 545: Smuggling Goods Into the United States.

            II.    FACTUAL BACKGROUND

            A.    Defendant has served in the United States Air Force since 2015. As part of both

basic training and Security Forces technical school, he underwent multiple firearms trainings, to

include automatic rifles and pistols. Consequently, Defendant obtained proficiency in multiple

weapons and passed various tests designed to increase his combat readiness. At Kirtland Air

Force Base (KAFB), training includes heavy weaponry, anti-personnel weaponry, driving

military vehicles, and intruder deterrence and apprehension. KAFB additionally provided

Defendant classified training to protect highly secured military assets located on base. As a

member of the Weapons Systems Security Squadron, Defendant has received training above and

beyond that of a typical Air Force member. Defendant’s extensive and specialized training in

multiple weapons, combat techniques and tactics, combined with his interest and expertise in

firearms, present a far greater capacity to cause serious harm than that of the average member of

the United States Air Force, and certainly more than an average citizen. As discussed more fully

below, Defendant’s recent activities demonstrate his imminent interest in utilizing that capacity

for harm.

            Defendant ordered a silencer from a website, knowing it is illegal for him to do so. He

knows this well, due to his extensive training. Defendant also ordered other gun parts, including a

part which converts a Glock into full automatic firing mode (also illegal), without seeking the

required permission from the Air Force. Additionally, at his residence Defendant had three other

silencers, 17 firearms that he had failed to register with the USAF, roughly 7,000 rounds of

ammunition, body armor, gas masks and military communications devices that appear stolen. A

search of Defendant’s cell phone uncovered disturbing alt-right, anti-government and police

material, racist propaganda, and other material which suggests a pre-disposition to commit a

violent act. Under these circumstances, Defendant poses a risk of flight and danger to the

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community that this Court cannot mitigate with any conditions of release – no matter how

restrictive. See 18 U.S.C. §3142(e). This Court should therefore deny Defendant’s Appeal and

maintain him in the custody of the U.S. Marshals Service pending trial.

          B.     Charged Offenses

          The charges in the Complaint stem from conduct that occurred at Kirtland Air Force Base

 while Defendant was a member of the United States Air Force. The FBI/ATF began

 investigating Defendant in early 2020 after Homeland Security Investigations and Customs and

 Border Protection agents learned that Defendant had ordered an illegal silencer and other illegal

 firearms parts from a website, in violation of the charges referenced above. A lawful search of

 Defendant’s home yielded more silencers as well as a veritable arsenal, and more items discussed

 below.

          III.   ARGUMENT FOR DETENTION

          This Court should order that Defendant remain in the custody of the U.S. Marshals

 pending trial. Defendant poses a very serious risk that he has the knowledge and motivation to

 flee the country in order to avoid prosecution and imprisonment for his crimes. Defendant poses

 an extreme danger to the community given his extensive weapons training and plans to possess

 multiple illegal weapons. Given Defendant’s training with weapons and combat techniques,

 coupled with the disturbing images stored on his phone, there are no conditions of pretrial release

 that would adequately mitigate Defendant’s flight risk and extreme dangerousness.

          A.      Nature and Circumstances of the Offense

          The criminal complaint articulates facts which indicate Defendant’s intentions were

 dangerous: he ordered illegal weapons, to wit, a silencer, as well as parts designed to illegally

 convert a Glock pistol into a fully automatic machine gun. Defendant faces up to 10 years

 incarceration on that count alone if convicted. See 26 U.S.C. § 5871. Naturally, the

 probability of such a long term of imprisonment gives Defendant a powerful incentive to flee.

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See United States v. Munoz- Hernandez, No. CR 12-0128 JB, 2012 U.S. Dist. LEXIS 161970,

at *31-32 (D.N.M. Nov. 5, 2012)(Browning, J.)(noting that “[i]n the face of such a lengthy

term of imprisonment [10 years to life], and the evidence against him, [the defendant] might be

tempted to flee . . . rather than spend a good portion of his life in an American prison”).

Defendant’s violations of law, coupled with the anti-police and anti-government materials

seized from his phone show Defendant does not respect lawful authority and will not hesitate

to violate this Court’s orders on any condition of release. The nature and surrounding

circumstances of the charged offenses provide very compelling reasons to remand Defendant

to the custody of the U.S. Marshals pending trial.

       B.      Weight of the Evidence

       The evidence supporting the indictment is strong. Defendant ordered illegal firearms parts

to himself via a website which sourced the parts from China. Whether the website from which he

purchased the silencer and conversion kit is a U.S.-based company or not, he knowingly ordered a

silencer, and possessed other silencers at his residence. USAF OSI Special Agent Nathaniel

Sorenson testified at the March 19 hearing that Defendant’s training and his experience in the

United States Air Force provide him with unmistakable knowledge that silencers are illegal.

Sorenson also testified that he had interviewed a witness who admitted going shooting with

Defendant, and reporting that Defendant brought with him a rifle with the same type of silencer

found in Defendant’s residence on at least one occasion. Given his extensive and specialized

training and experience, Defendant cannot reasonably claim lack of knowledge that the silencers

found in his residence or the ones he ordered from the website were a) silencers, and b) illegal.

       The United States Air Force Office of Special Investigations (OSI) determined that Justice

had received shipments of at least two (2) other firearms-related items originating from Chinese

vendors. These items include a “butt-stock” designed to turn a Glock pistol into a short-barreled

rifle, along with a Glock compatible “auto-sear,” which is a combination of parts designed to


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covert a semi-automatic firearm into a fully automatic firearm, allowing it function as a machine

gun. As indicated above, Defendant has received countless hours of taxpayer-funded training in

methods and techniques of combat and weapons. He is assigned to the Weapons Systems Security

Squadron, which is a unit of the KAFB Security Forces Group. These groups are responsible for

base security as well as providing security for nuclear and non-nuclear materials and support

operations. In the hands of someone with Defendant’s combat and weapons training, the items

described above present a very real danger to the community.

       A search of Defendant’s cell phone yielded dozens of disturbing images, as well as the

complete manifesto of Brenton Tarrant, the man charged with (and who recently entered a guilty

pela) 51 murders, 40 attempted murders, and engaging in a terrorist act in the Christchurch, New

Zealand shootings at a mosque on March 15, 2019. Copies of the materials from Defendants

phone are attached as Exhibits A, B, and C.

       i.     Exhibit A

              Exhibit A contains 43 different photographs (there are 44 files, the first one being

       a caption by the USAF OSI officer who collected the evidence). Among them:

              1. Page 2 is a photograph of a “butt stock” like the one discovered at

                  Defendant’s home, with the words “You can’t shake the taste of blood.”

              2. Page 3 is a photograph of a person standing next to a truck full of weapons

                  and ammo, next to a photograph of a machine gun and some apparent

                  marijuana;

              3. Page 4 shows an individual preparing to fire a rifle with a silencer, next to a

                  photo of the license plate of an active duty Special Agent with KAFB Office

                  of Special Investigations;

              4. Page 5 shows the same license plate along with a coffee cup with an unknown

                  substance;

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 5. Pages 6-9 are schematics for conversion of a firearm to full automatic mode;

 6. Page 12, 13 shows silencer assemblies and a firearm part ready for full auto

     conversion;

7. Page 15 shows a picture of a person modifying a gun on top, and a diagram of

   an “L-shaped ambush formation,” which is a military maneuver designed to

   prevent an enemy from escaping a “kill zone.” Next to the gun modification are

   the words “What I appear to be doing.” Next to the ambush diagram are the

   words “what I am actually doing.” The implication seems to be that the author

   is preparing for an attack, whilst disguising his/her actions as routine. Next to

   both photos is a depiction of various “fringe” groups, with the words “hating

   police.”

8. Page 17 depicts AR15 magazines with the names of active shooters painted on

   them. The New Zealand shooter, Brenton Tarrant, scrawled these same names

   on the magazines he used when he shot his victims in 2019, and he posted the

   pictures to Twitter.

9. Page 19 is more silencer photos with a firearm.

10. Page 20 is a diagram of a firearm for full auto conversion with a picture

   mocking the Uniform Code of Military Justice (UCMJ). The caption in the

   picture reads “We can’t do that, it’s against the UCMJ” with a response

   “Thats why no-one will remember your name.” The inference is that strict

   adherence to the UCMJ shows a lack of guts or vision.

11. Page 23 is racist propaganda. One half of the picture mocks African

   Americans, and the other half takes aim at Muslims.

12. Multiple pages from 24-43 depict schematics for constructing Improvised

   Explosive Devices (IEDs), which are essentially homemade bombs, including

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                  Molotov cocktails.

                13. Page 25 also contains a picture making light of suicides within the military

                14. Page 29 references the Christchurch shootings.

                15. Page 44 contains a picture which reads “My family claiming how sweet I am”

                    next to the words “Me knowing I’m on a few watchlists and will be labeled a

                    domestic terrorist soon.”

         ii.    Exhibit B

                Exhibit B is instructions for making a homemade silencer.

         iii.   Exhibit C

                Exhibit C is the Manifesto of the New Zealand shooter, Brenton Tarrant.

The disturbing nature of these materials cannot be overstated. These files were not searches,

viewed out of curiosity. Rather the files were saved to Defendant’s phone, and, as introduced at

the detention hearing, downloaded from an Instagram group Defendant follows. SA Sorenson

testified he had researched the group and found that they espouse racist, alt-right beliefs and anti-

government sentiment. SA Sorenson and ATF Special Agent Nate Kempton both testified that

they are trained to recognize and disrupt active or mass shooters. Each testified that they believe

Defendant was planning a mass shooting.

         Collectively, the serious nature and circumstances of the charges and the strength of the

evidence would almost certainly cause Defendant to flee unless he is detained pending trial.

Indeed, the proximity of New Mexico to the southern border of the United States greatly

enhances Defendant’s flight risk. Munoz-Hernandez, 2012 U.S. Dist. LEXIS 161970, at *31-32

(“[t]he fact that New Mexico runs along the Mexican border increases the risk of flight to

Mexico” and “decreases the ability of law enforcement officers to timely respond to a

defendant’s flight, even if the Court were to require [Defendant] to wear a GPS device during his

release.”). At the detention hearing, OSI SA Sorenson testified that agents also discovered on

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Defendant’s phone a “bug out” list and a makeshift last will and testament. Sorenson testified

that the “bug out” list contained a list of supplies and instructions, including firearms,

ammunition, and body armor, that would enable Defendant (and his wife and son, also on the

list) to take evasive action and avoid contact with civilization if needed. Sorenson testified that

this list appears to be a plan for Defendant to escape capture. Defendant has the training, means,

and plans to escape and survive for a long time outside the boundaries of everyday society and

hide form authorities That he also had a makeshift last will and testament is troubling, as it

indicates Defendant considered he might not survive whatever he was planning and preparing

for.


           C.       Defendant’s Criminal History

           Defendant has no known criminal history, however he was officially reprimanded by the

    United States Air Force for attempting to steal gun supplies and ammunition in 2016. Although

    this is not a particularly serious charge, it demonstrates Defendant’s willingness to ignore the
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    law, even for petty matters.

           D.       Danger to the Community

    There is clear and convincing evidence that Defendant poses an extreme danger to the

    community. His training and experience, the fact that he illegally tried to import a silencer

    and parts to convert a gun to a machine gun, the 17 unregistered firearms and 3,000 rounds of
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    ammunition found at his residence, and the disturbing content on his phone are indicative of

    a man with a plan, who appears to be stockpiling weapons and ammunition. The photos and

    documents on his phone reveal his anti-government and police leanings, to say nothing of the

    additional bigoted materials, which by themselves cause serious concerns.


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  See Exhibit E, a letter of counseling sent to Defendant after he failed to wear his beret after being told to do so on a
previous occasion. His lengthy diatribe in response reveals a barely-concealed rage that mirrors some of the anti-
authority sentiments contained in the files saved on his phone.
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  See Exhibit F, photos from execution of search of Defendant’s residence.
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       The Department of the Air Force reviewed this matter for the possibility of confining

Defendant on February 26. The Memorandum of this review is attached as Exhibit D. The

Pretrial Confinement Officer is not a judge or an attorney. He found statements from friends and

family members to be persuasive in releasing Defendant. As opposed to his friends and family

members, several of Defendant’s coworkers expressed grave concern:

       1. A former flight chief who supervised Defendant recommended “staff arming” around

           Defendant, which means people who were not typically armed while in Defendant’s

           presence, were now advised be armed when in Defendant’s presence. The same flight

           chief also stated he believed Defendant would retaliate (against the flight chief).

       2. Another coworker told investigators he saw a .50 caliber rifle in Defendant’s vehicle

           and that Defendant admitted it was his. The coworker provided a signed statement to

           that effect. Defendant later told investigators he never had a .50 caliber rifle, but

           instead merely had empty casings he intended to fashion into jewelry.

       3. Defendant is known to keep a notebook listing favorable and unfavorable actions of

           coworkers. At least one coworker felt the notebook presented a potential threat to his

           safety, i.e., that Defendant might retaliate against those he believed had done him

           wrong.

       4. The same coworker initially told investigators he did not feel Defendant was a

           danger, but changed his mind when he learned Defendant had purchased silencers.

       5. Lt. Col. Chamberlin, Commander of Defendant’s Squadron, believes there is a greater

           than 50% chance Defendant is a flight risk, given the nature of the offense, and also

           that there is a greater than 50% chance Defendant will commit other serious crimes.

       6. The First Sergeant of Defendant’s Squadron believes there is a greater than 50%

           chance Defendant will commit serious criminal misconduct if released, and is

           concerned Defendant will harm others.

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       There are also statements, as indicated, from friends and family of Defendant, which are

supportive and contain statements discouraging any conclusion that he is dangerous. However,

the photos and documents on Defendant’s phone, with the diagrams for making explosives, anti-

government and anti-police statements, racist propaganda, etc., were not known to any of the

individuals who provided statements for the Pretrial Confinement Review, including his friends

and family, who made positive statements, and also the individuals who made the statements

above. Furthermore, this Court should give greater weight to the statements of Defendant’s

commanding officers, who believe he presents a greater than 50% risk of harm to the community,

and one of whom believes there is a greater than 50% likelihood he will attempt to escape

prosecution.

       Finally, ATF SA Nate Kempton testified at the March 19 detention hearing that during

the pendency of the Air Force investigation of the silencers violations, Defendant left Kirtland

Air Force Base, and went to Cutter Aviation. Exhibit G is an APD police report which states that

Defendant went to Cutter Aviation in full uniform and asked airport personnel about COVID-19

patients on arriving flights. When the receptionist replied that they didn’t have any patients,

Defendant persisted, and told her he was under “military orders” to pick up coronavirus patients.

When she told Defendant she had to check with her manager, he quickly left. The witness found

the encounter “suspicious and peculiar,” due to Defendant’s demeanor, and because such a

transfer as Defendant demanded would not happen without advance planning and coordination.

It is difficult to imagine any innocent, non-harmful purpose for Defendant to attempt to take

custody of coronavirus patients.

       A halfway house or any kind of third-party release are entirely unsuitable for Defendant.

Defendant has shown a desire to inflict violent harm on others. He has been trained in many

techniques he could use to escape the halfway house and injure others to do so if needed. The

halfway house also generally permits residents to possess wireless phones (including those with


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internet access) and it would be easy for Defendant to gain access to a cell phone at the halfway

house if he were determined to do so. Given the contents of his cell phone referenced here, this

would present a very dangerous situation.

          II.    CONCLUSION

          The applicable factors discussed above should persuade this Court that Defendant must

 be detained pending trial. Clearly, there are “no . . . conditions [of release that] will” mitigate the

 risk of flight and extraordinary dangerousness posed by Defendant and “reasonably assure the

 appearance of [Defendant] as required and the safety of any other person and the community.”

 18 U.S.C. § 3142(e)(1). Under these circumstances, this Court should remand Defendant to the

 custody of the U.S. Marshals pending trial on the indictment. Although this Court’s review is de

 novo, it may still issue a ruling without a hearing. All of the issues raised in Defendant’s Motion

 were in fact raised in the prior hearing and pleadings. There is no indication a hearing will

 produce new information or arguments not already part of the record in this case.

         WHEREFORE, the United States requests that this Court deny Defendant’s Motion

 Appealing Magistrate’s Detention Order without a hearing.


                                                        Respectfully Submitted,

                                                        JOHN C. ANDERSON
                                                        United States Attorney


                                                        _/s/
                                                        JON K. STANFORD
                                                        Assistant United States Attorney


                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on Thursday, May 14, 2020, I filed the foregoing pleading

electronically through the CM/ECF system, and thereby served counsel of record by electronic

means.

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